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Exhibit 49. Lease Agreement dated 3/28/2019 for personal residence of Grant Whi Page 1 of 4




                                    EXHIBIT 49
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